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                                                                             VERSION 2

                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


     STARLINE MEDIA, INC. and DAVID
     NDALAMBA,

                           Plaintiffs,

     v.                                                Case No: 6:20-cv-1210-GAP-GJK

     JOMY STERLING

                           Defendant.


                COURT’S PROPOSED INSTRUCTIONS TO THE JURY (VERSION 2)

           Members of the jury:

           It is my duty to instruct you on the rules of law that you must use in

     deciding this case.

           When I have finished, the lawyers will give their closing arguments. You

     will then go to the jury room and begin your discussions, sometimes called

     deliberations.
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                                                                              VERSION 2

                                      Instruction No. 1
                                 Duty to Follow Instructions

           In deciding the case you must follow and apply all of the law as I explain it

     to you, whether you agree with that law or not; and you must not let your

     decision be influenced in any way by sympathy, or by prejudice, for or against

     anyone.

           The fact that a corporation is involved as a party must not affect your

     decision in any way. A corporation and all other persons stand equal before the

     law and must be dealt with as equals in a court of justice. When a corporation is

     involved, of course, it may act only through people as its employees; and, in

     general, a corporation is responsible under the law for any of the acts and

     statements of its employees that are made within the scope of their duties as

     employees of the company.

           In your deliberations you should consider only the evidence—that is, the

     testimony of the witnesses and the exhibits I have admitted in the record—but as

     you consider the evidence, both direct and circumstantial, you may make

     deductions and reach conclusions which reason and common sense lead you to

     make. "Direct evidence" is the testimony of one who asserts actual knowledge of a

     fact, such as an eyewitness. "Circumstantial evidence" is proof of a chain of facts

     and circumstances tending to prove, or disprove, any fact in dispute. The law




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                                                                                VERSION 2

     makes no distinction between the weight you may give to either direct or

     circumstantial evidence.

           Remember that anything the lawyers say is not evidence in the case. And,

     except for my instructions to you on the law, you should disregard anything I may

     have said during the trial in arriving at your decision concerning the facts. It is

     your own recollection and interpretation of the evidence that controls.




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                                                                            VERSION 2

                                      Instruction No. 2
                                   Credibility of Witnesses

           When I say you must consider all the evidence, I do not mean that you must

     accept all the evidence as true or accurate. You should decide whether you believe

     what each witness had to say, and how important that testimony was. In making

     that decision you may believe or disbelieve any witness, in whole or in part. The

     number of witnesses testifying concerning a particular point does not necessarily

     matter.

           To decide whether you believe any witness I suggest that you ask yourself a

     few questions:

           1.    Did the witness impress you as one who was telling the truth?

           2.    Did the witness have any particular reason not to tell the truth?

           3.    Did the witness have a personal interest in the outcome of the case?

           4.    Did the witness seem to have a good memory?

           5.    Did the witness have the opportunity and ability to accurately

           observe the things he or she testified about?

           6.    Did the witness appear to understand the questions clearly and

           answer them directly?

           7.    Did the witness’s testimony differ from other testimony or other

           evidence?




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                                                                             VERSION 2

                                    Instruction No. 3
                          Impeachment of Witnesses (Inconsistency)

              You should also ask yourself whether there was evidence that a witness

     testified falsely about an important fact. And ask whether there was evidence that

     at some other time a witness said or did something, or did not say or do

     something, that was different from the testimony the witness gave during this

     trial.

              But keep in mind that a simple mistake does not mean a witness was not

     telling the truth as he or she remembers it. People naturally tend to forget some

     things or remember them inaccurately. So, if a witness misstated something, you

     must decide whether it was because of an innocent lapse in memory or an

     intentional deception. The significance of your decision may depend on whether

     the misstatement is about an important fact or about an unimportant detail.




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                                                                                VERSION 2

                                       Instruction No. 4
                                       Burden of Proof

           In this case it is the responsibility of Plaintiffs and Counterclaim Plaintiff to

     prove every essential part of his claim by a “preponderance of the evidence.” This

     is sometimes called the “burden of proof” or the “burden of persuasion.”

           A “preponderance of the evidence” simply means an amount of evidence

     that is enough to persuade you that the Plaintiffs’ and Counterclaim Plaintiff’s

     claim is more likely true than not true.

           If the proof fails to establish any essential part of a claim or contention by a

     preponderance of the evidence, you should find against the Plaintiffs and/or

     Counterclaim Plaintiffs.




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                                                                              VERSION 2

                                      Instruction No. 5
                                   Explanation of the Case

           This is a civil case. To help you follow the evidence, I’ll summarize the

     parties’ positions. Plaintiffs David Ndalamba and Starline Media, Inc., claim that

     Defendant Jomy Sterling d/b/a Star Status Group infringed Plaintiffs’ copyrights,

     tortiously interfered with Plaintiffs’ non-disclosure agreement with Elisha Trice,

     and misappropriated Plaintiffs’ trade secrets. Defendant denies those claims. In

     addition, Defendant has brought a counterclaim against Plaintiff David Ndalamba

     and Counterclaim Defendant Tyler Gnass, arguing that they are guilty of

     defamation and trade libel.




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                                                                                  VERSION 2

                                         Instruction No. 6
                                         Burden of Proof

             In this case it is the responsibility of the party bringing any claim to prove

     every essential part of the party’s claim by a “preponderance of the evidence.”

     This is sometimes called the “burden of proof” or the “burden of persuasion.”

             A “preponderance of the evidence” simply means an amount of evidence

     that is enough to persuade you that the party’s claim is more likely true than not

     true.

             If the proof fails to establish any essential part of a claim or contention by a

     preponderance of the evidence, you should find against the party making that

     claim or contention.

             When more than one claim is involved, you should consider each claim

     separately.

             In deciding whether any fact has been proved by a preponderance of the

     evidence, you may consider the testimony of all of the witnesses, regardless of

     who may have called them, and all of the exhibits received in evidence, regardless

     of who may have produced them.

             If the proof fails to establish any essential part of a party’s claim by a

     preponderance of the evidence, you should find for the Defendant or

     Counterclaim Defendants as to that claim.




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                                                                             VERSION 2

                                       Instruction No. 7
                        Burden of Proof—Clear and Convincing Evidence

           Sometimes a party has the burden of proving a claim or defense by clear

     and convincing evidence. This is a higher standard of proof than proof by a

     preponderance of the evidence. It means the evidence must persuade you that the

     claim or defense is highly probable or reasonably certain. The court will tell you

     when to apply this standard.




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                                                                            VERSION 2

                                     Instruction No. 8
                                    Copyright—General

           To establish infringement, Plaintiffs must prove two things:

           First, you must find that Plaintiffs owned a valid copyright.

     And second, you must find that Defendant copied the work’s original

     components. The parties agree that Plaintiffs own a valid copyright.




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                                                                               VERSION 2

                                     Instruction No. 9
                              Copyright—Validity & Coverage

           Copyright protection doesn’t extend to all the elements of a copyrighted

     work. Elements covered by the copyright protection are called “protected matter,”

     and non-covered elements are “unprotected matter.” Because unprotected matter

     isn’t entitled to copyright protection, another author may copy it.

           There are various types of unprotected matter. They include:

           • a portion of the work that isn’t original to the author;

           • a portion of the work that’s in the public domain; and

           • an idea, concept, principle, discovery, fact, actual event, process, or
             method contained in a work.

           A work that’s “in the public domain” is one that does not have copyright

     protection, so anyone may use all or part of it in another work without charge.

           If you find that Plaintiffs are seeking copyright protection in:

           • a portion of a work that isn’t original to the author;

           • a portion of the work that’s in the public domain; or

           • an idea, concept, principle, discovery, fact, actual event, process, or

            method expressed or described in a work, you should exclude that

            material from the protected matter Plaintiffs’ copyright-

            infringement claim can be based on.

           Merger Doctrine

           Copyright law provides that an author can usually copy unprotected matter


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     but not copy the manner another author selected for expressing a particular

     matter. But there’s an exception to this prohibition if there’s only one way, or only

     a few ways, of expressing the ideas or other unprotected matter in a work. In such

     cases, an author may copy the expression in the work to the extent necessary to

     express the unprotected matter. Defendants claim that this exception applies in

     this case.

            This exception is called the “merger doctrine” because when there is only

     one way of expressing unprotected matter, the expression is said to have

     “merged” with the unprotected matter. The merger doctrine can apply to any

     unprotected matter such as ideas, facts, or events. The doctrine can apply to literal

     text, such as when facts can be effectively expressed only by using specific words

     or a limited range of words. The merger doctrine can also apply to non-literal

     elements of a literary work, such as when it’s necessary to recount factual events

     in the same order as another work to present historical facts accurately and

     intelligibly.




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                                                                               VERSION 2

                                       Instruction No. 10
                                    Copyright—Infringement

                  You must consider whether Defendant improperly copied Plaintiffs’

     copyrighted material. It is Plaintiffs’ burden to show that Defendants infringed on

     Plaintiffs’ valid copyright.

           In this case, Plaintiffs claim that Defendant infringed Plaintiffs’ copyright in

     the Royale High code by copying parts of it and including the copied material in

     Defendant’s work, Crown Academy.

           There are two ways in which Plaintiffs can prove a claim of copyright

     infringement.

           First, Plaintiffs can show direct evidence that Defendant actually copied the

     copyrighted material. For example, Plaintiffs could introduce believable

     eyewitness testimony or an admission by Defendant.

           Or second, Plaintiffs can show indirect or circumstantial evidence that

     Defendant copied Plaintiffs’ work. In general, the two elements of indirect

     infringement are (1) access and (2) substantial similarity.

           Plaintiffs can show that Defendant had “access” to Plaintiffs work by

     showing that Defendant had a reasonable opportunity to see the work. It isn’t

     necessary to show that Defendant actually saw Plaintiffs’ work before creating

     Defendant’s own work if the evidence reasonably establishes that Defendant

     could have seen it and could have copied it.


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           But you can’t base a finding that Defendant had access to Plaintiffs’ work on

     mere speculation, conjecture, or a guess. To support a finding of access, there must

     be more than just a slight possibility of access. There must be a reasonable

     possibility of access.

           If Plaintiffs can’t show that Defendant had access to Plaintiffs’ work before

     Defendant created an alleged copy, Plaintiffs can still establish a rebuttable

     presumption of copying by showing that the material Defendants allegedly copied

     is so strikingly similar to Plaintiffs copyrighted material that the similarity is

     unlikely to have occurred unless there was copying.

           Put another way, if Plaintiffs’ work and Defendant’s work are so strikingly

     similar that a reasonable person would assume Defendants copied from Plaintiffs’

     work and that there is no possibility of independent creation, coincidence, or prior

     common source, then Plaintiffs are entitled to a rebuttable presumption that

     copying occurred. “Strikingly similar” is a greater degree of similarity than

     “substantially similar.”

           An accused work is substantially similar to an original piece if an ordinary

     observer would conclude that the accused work’s creator unlawfully took

     protectable material of substance and value from the original piece. Even if there

     is little similarity between the pieces, the accused work can still be substantially

     similar if the copied parts from the original piece are the important quality. A



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                                                                             VERSION 2

     “rebuttable presumption” means that you assume that copying occurred unless

     Defendants proves that it didn’t happen.

           If Plaintiffs shows (1) that Defendants had access to the copyrighted

     material and that there is substantial similarity between the two works, or (2) that

     the works are strikingly similar, then the burden of proof shifts to Defendant to

     prove that her work is an independent creation – not a copy. Proof that a work is

     an independent creation overcomes a presumption of copying.




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                                                                                  VERSION 2

                                     Instruction No. 11
                             Copyright—Infringement—Software

           For a claim of copyright infringement for software, you must apply the

     same elements as in any other copyright-infringement claim, which include proof

     of access to the copyrighted work and substantial similarity. But even if you find

     that Defendant’s software is substantially similar to Plaintiffs’ software, not all

     similarity supports a claim of infringement. And even if Defendant’s software is

     literally (or even nonliterally) similar to Plaintiffs’ software, that isn’t necessarily

     enough to establish copyright infringement. You must determine whether there is

     “substantial similarity” between Defendant’s allegedly infringing program and

     the original elements of Plaintiffs’ software that the law protects.

           To do that, you’ll need to filter Plaintiffs’ copyrighted computer program to

     decide what part of Plaintiffs’ copyrighted software program is protected by the

     law and what part is not protectable.

           You’ll need to break down the allegedly infringed program – Plaintiffs’

     copyrighted work – into its structural parts so you can consider the individual

     elements of Plaintiffs’ copyrighted work. Then you’ll need to determine which of

     the elements that Plaintiffs claim have been infringed are protected by the law.

     The law doesn’t protect the following elements, and you should filter these out:

           1. elements that are only an idea;

           2. elements required based only on logic and efficiency;


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                                                                                 VERSION 2

           3. elements required because of hardware or software, computer-
              industry programming, and practices or elements taken from the
              public domain; or

           4. other elements of the program component under consideration
              that the law doesn’t protect.

           Once you’ve applied this filter to eliminate items from consideration that

     aren’t legally protectable, you’re entitled to include in your consideration for

     copyright infringement both those items in Defendant’s software (if any) that are

     literally similar as well as those elements that aren’t literally an exact copy of the

     copyrighted work.

           But even if you find that Defendants intentionally included literal and

     nonliteral copies of Plaintiffs’ copyrighted software, that similarity must relate to

     Plaintiffs’ copyrighted software or components of software that are legally

     protectable.

           In alleged copyright infringement for software, some parts of the software

     are required because of external factors. These external factors include:

           1. the need for the computer program to perform certain functions in
              a specific computing environment;

           2. the mechanical specifications of the computer on which a program
              is intended to run; and

           3. compatibility requirements of other programs that the program is
              designed to perform in conjunction with.

           So if you find that Defendants have copied a portion of Plaintiffs’ software,

     but that Defendants used those elements because of external factors such as


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                                                                          VERSION 2

     compatibility, the external considerations may mean there’s no infringement.




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                                                                          VERSION 2

                                 Instruction No. 12
                      Copyright—Defense—Independent Creation

           As a defense, Defendant asserts that she created her work independently –

     without copying Plaintiffs’ copyrighted work.

           If you find by a preponderance of the evidence that Defendant created her

     work independently, you should find in Defendant’s favor.




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                                                                             VERSION 2

                                    Instruction No. 13
                                   Copyright—Damages

           If you find that Plaintiffs have failed to prove their copyright-infringement

     claim or that Defendant has proven her affirmative defense by a preponderance of

     the evidence, you won’t consider the question of damages. If you find that

     Plaintiffs have proven by a preponderance of evidence that Defendant has

     infringed Plaintiffs’ copyright, and Defendant has not proven a defense, then you

     must determine whether Plaintiffs have proven damages.




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                                                                               VERSION 2

                                    Instruction No. 14
                                Copyright—Actual Damages

           Plaintiffs are entitled to recover any actual damages suffered because of the

     infringement found. “Actual damages” means the amount of money adequate to

     compensate Plaintiffs for any losses caused by the infringement. In this case,

     Plaintiffs claim their actual damages are measured by:

           1. a reasonable license fee that Defendants should have paid for the
              use found to be an infringement;

           2. the profits Plaintiffs should have received for sales lost because of
               the infringement; or

           3. other measure specific to the case.

     Plaintiffs have the burden of first proving to a reasonable probability a causal

     connection between Defendants’ alleged act(s) of infringement and any loss

     claimed. If Plaintiffs do so, Defendants must show that the claimed loss would

     have occurred even if there had been no infringement by Defendant.




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                                                                              VERSION 2

                                    Instruction No. 15
                                 Copyright—Disgorgement

           In addition to actual damages, Plaintiffs are also entitled to Defendant’s

     profits that are attributable to the infringement you found, but only to the extent

     they are not already taken into account in calculating Plaintiffs’ actual damages.

     An award of Defendant’s profits may not include any amounts that were

     accounted for in calculating Plaintiffs’ actual damages to avoid double recovery.

           In calculating Defendant’s profits, you should determine the gross revenues

     received by Defendant that were attributable to the infringement you found, and

     then subtract the deductible expenses incurred by Defendant, any portions of the

     gross revenues attributable to factors other than infringement, and any amount

     already taken into account in calculating actual damages. Plaintiffs have the

     burden of proving, by a preponderance of the evidence, Defendant’s gross

     revenue attributable to the infringement you found, and a causal relationship

     between the infringement and Defendant’s profits. Defendant has the burden of

     proving, by a preponderance of the evidence, any deductible expenses incurred

     and any portions of the revenue that are attributable to factors other than

     infringement.




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                                                                               VERSION 2

                                     Instruction No. 16
                               Trade Secret Misappropriation

           Plaintiffs claim that they had a trade secret and that Defendant

     misappropriated that trade secret.

           To prove that Plaintiffs had a trade secret, Plaintiffs must prove that:

           1. Plaintiffs had Royale High code that:

                 a. derived actual or potential independent economic value from not

                 being generally known to other persons who could obtain value from

                 its disclosure or use; and

                 b. was not readily ascertainable by proper means by other persons.

           2. Plaintiffs took reasonable steps, under the circumstances, to maintain the

              secrecy of the Royale High code.

           If you find that Plaintiffs proved that they had a trade secret, then Plaintiffs

     must further establish that the trade secret was misappropriated by proving that:

                 a. Acquisition Theory, § 688.002(2)(a): Defendant acquired Plaintiffs’

                 trade secret and Defendant knew or had reason to know the trade

                 secret was acquired through improper means, such as theft, breach of

                 a duty to maintain secrecy, inducing a breach of duty to maintain

                 secrecy, or espionage through electronic or other means.

                 b. Disclosure Theory, § 688.002(2)(b)(1): Defendant disclosed or used

                 Plaintiffs’ trade secret without Plaintiffs’ express or implied consent


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                                                                              VERSION 2

                 and Defendant used improper means to acquire knowledge of the

                 trade secret, such as theft, breach of a duty to maintain secrecy,

                 inducing a breach of duty to maintain secrecy, or espionage through

                 electronic or other means.

                 c. Disclosure Theory, § 688.002(2)(b)(2)(a)): Defendant disclosed or used

                 Plaintiffs’ trade secret without Plaintiffs’ express or implied consent

                 at a time when Defendant knew or had reason to know that

                 Defendant’s knowledge of Plaintiffs’ trade secret came from or

                 through a person who had used improper means to acquire that trade

                 secret, such as theft, breach of a duty to maintain secrecy, inducing a

                 breach of duty to maintain secrecy, or espionage through electronic or

                 other means.

                 d. Disclosure Theory, § 688.002(2)(b)(2)(b)): Defendant disclosed or used

                 Plaintiffs’ trade secret without Plaintiffs’ express or implied consent

                 at a time when Defendant knew or had reason to know that

                 Defendant acquired the trade secret under circumstances where

                 Defendant had a duty to maintain its secrecy or limit its use.

                 e. Disclosure Theory, § 688.002(2)(b)(2)(c)): Defendant disclosed or used

                 Plaintiffs’ trade secret without Plaintiffs’ express or implied consent

                 at a time when Defendant knew or had reason to know that



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                 Defendant’s knowledge of Plaintiffs’ trade secret was acquired from

                 or through a person who owed a duty to Plaintiffs to maintain its

                 secrecy or limit its use.

                 f. Accident or Mistake Theory, § 688.002(2)(b)(3)): Defendant disclosed

                 or used Plaintiffs’ trade secret without Plaintiffs’ express or implied

                 consent, and before a material change in Defendant’s position,

                 Defendant knew or had reason to know that the information was a

                 trade secret and that knowledge of the trade secret had been acquired

                 by accident or mistake.




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                                                                                VERSION 2

                                       Instruction No. 17
                                    Trade Secret—Damages

             If Plaintiffs have not proven their claim for misappropriation of trade

     secrets, your verdict must be for Defendant on this claim, and you do not consider

     damages.

             If Plaintiffs have proven their claim for misappropriation of trade secrets,

     you must decide the issue of damages. To the extent that it is not duplicative (that

     is, double counting), you may award Plaintiffs the amount of Defendant’s unjust

     enrichment that is a result of Defendant’s misappropriation of the Royale High

     code.

                                      Exemplary Damages

             If you find that Defendant have engaged in willful and malicious

     misappropriation of Plaintiffs’ trade secret information, you may award

     “exemplary” damages, that is, damages meant to make an example of Defendant.

     Exemplary damages may be awarded in an amount not more than two (2) times

     the amount awarded for compensatory damages (i.e. the amount awarded for

     either actual damages plus unjust enrichment or for a reasonable royalty).




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                                                                                VERSION 2

                                       Instruction No. 18
                                      Tortious Interference

            You must also determine whether Defendant intentionally interfered with a

     contract between Plaintiffs and Elisha Trice; and, if so, whether such interference was

     a legal cause of loss or damage to Plaintiffs.

            A person interferes with a contract between two other persons if he or she

     induces or otherwise causes one of them to breach or refuse to perform the

     contract.

            Intentional interference with another person’s contract is improper.

     Interference is intentional if the person interfering knows of the contract with

     which he or she is interfering, knows he or she is interfering, and desires to

     interfere or knows that interference is substantially certain to occur as a result of

     his or her action.

           If you find for Defendant, you will not consider the matter of damages. But,

     if you find for Plaintiffs, you should award Plaintiffs an amount of money that the

     greater weight of the evidence shows will fairly and adequately compensate

     Plaintiffs for the loss and damage that was caused by the intentional interference.




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                                                                               VERSION 2

                                     Instruction No. 19
                         Tortious Interference—Punitive Damages

          Plaintiffs claim that punitive damages should be awarded against Defendant

     for her tortious interference. Punitive damages are warranted against Defendant if

     you find by clear and convincing evidence that Defendant was guilty of

     intentional misconduct or gross negligence, which was a substantial cause of loss

     or damage to Plaintiffs. Under those circumstances you may, in your discretion,

     award punitive damages against Defendant. If clear and convincing evidence does

     not show such conduct by Defendant, punitive damages are not warranted against

     Defendant.

          “Intentional misconduct” means that Defendant had actual knowledge of the

     wrongfulness of the conduct and that there was a high probability that injury or

     damage to Plaintiffs and, despite that knowledge, she intentionally pursued that

     course of conduct, resulting in loss or damage.

          “Gross negligence” means that Defendant’s conduct was so reckless or

     wanting in care that it constituted a conscious disregard or indifference to the life,

     safety, or rights of persons exposed to such conduct.

          If you decide that punitive damages are warranted against Defendant then

     you must decide the amount of punitive damages, if any, to be assessed as

     punishment against Defendant and as a deterrent to others. This amount would be

     in addition to the compensatory damages you have previously awarded. In


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                                                                              VERSION 2

     making this determination, you should decide any disputed factual issues by the

     greater weight of the evidence. “Greater weight of the evidence” means the more

     persuasive and convincing force and effect of the entire evidence in the case.

          In determining the amount of punitive damages, if any, to be assessed, you

     should consider the following:

           (1).   the nature, extent and degree of misconduct and the related

                  circumstances, including the following:

                  (A).   whether the wrongful conduct was motivated solely by

                         unreasonable financial gain;

                  (B).   whether the unreasonably dangerous nature of the conduct,

                         together with the high likelihood of injury resulting from the

                         conduct, was actually known by Defendant;

                  (C).   whether, at the time of loss or damage, Defendant had a

                         specific intent to harm Plaintiffs and the conduct of Defendant

                         did in fact harm Plaintiffs, and

           (2).   the financial resources of Defendant.

          However, you may not award an amount that would financially destroy

     Defendant. You may in your discretion decline to assess punitive damages.




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                                                                              VERSION 2

                                     Instruction No. 20
                                  Election of Foreperson
                                Explanation of Verdict Form

           When you go to the jury room you should first select one of your members

     to act as your foreperson. The foreperson will preside over your deliberations and

     will speak for you here in court. A form of verdict has been prepared for your

     convenience.

                                       [Explain verdict]

           You will take the verdict form to the jury room and when you have reached

     unanimous agreement you will have your foreperson fill in the verdict form, date

     and sign it, and tell the marshal you have a verdict. If you should desire to

     communicate with me at any time, please write down your message or question

     and pass the note to the marshal who will bring it to my attention. I will then

     respond as promptly as possible, either in writing or by having you returned to

     the courtroom so that I can address you orally. I caution you, however, with

     regard to any message or question you might send, that you should not tell me

     your numerical division at the time.




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